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                                                                              FILED
10 Attorneys for Defendant
   EDUARDO ALFONSO VIERA-CHIRINOS                                               Mar 16 2021

11                                                                            SUSANY. SOONG
                                                                         CLERK, U.S. DISTRICT COURT
12                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                               SAN FRANCISCO
13
                                      UNITED STATES DISTRICT COURT
14
                                     NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN FRANCISCO DIVISION
16

17   UNITED STATES OF AMERICA,                      Case No. CR 19-00367-CRB-1

                        Plaintiff,                  DEFENDANT EDUARDO ALFONSO VIERA-
18
                                                    CHIRINOS’ ADMINISTRATIVE MOTION TO
19           v.                                     FILE EXHIBITS 1 AND 3 UNDER SEAL

20   EDUARDO ALFONSO VIERA-
     CHIRINOS,
21
                        Defendant.
22

23
            Defendant EDUARDO ALFONSO VIERA-CHIRINOS hereby moves to file under seal Exhibits
24

25 1 and 3 referenced in his Motion for Reconsideration of Pretrial Detention Order filed in the above

26 captioned case. Sealing is appropriate as the exhibits contain confidential information.
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              Case 3:19-cr-00367-CRB Document 359 Filed 03/16/21 Page 2 of 5




 1          Specifically, Exhibit 1 consists of Mr. Viera-Chirinos’ medical records. Mr. Viera-Chirinos

 2 believes disclosure of such confidential health information in this case would cause serious harm to his

 3
     privacy interest as recognized under HIPAA and related regulations.
 4
            Exhibit 3 consist of a wiretap transcript that contains personal identifying information (PII).
 5
            Accordingly, Mr. Viera-Chirinos respectfully requests that the Court order Exhibits 1 and 3
 6
     referenced in his Motion for Reconsideration of Pretrial Detention Order be filed under seal until further
 7

 8 order of the Court.

 9

10                                                        Respectfully Submitted,
11
     DATED: March 5, 2021                                 /s/ Hilary Blamey
12                                                        HILARY BLAMEY
                                                          NAOMI CHUNG
13                                                        Attorneys for Eduardo Viera-Chirinos
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                Case 3:19-cr-00367-CRB Document 359 Filed 03/16/21 Page 3 of 5




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 5                                                                          Mar 16 2021
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10 Attorneys for Defendant
   EDUARDO ALFONSO VIERA-CHIRINOS
11

12

13
                                        UNITED STATES DISTRICT COURT
14
                                       NORTHERN DISTRICT OF CALIFORNIA
15
                                            SAN FRANCISCO DIVISION
16

17    UNITED STATES OF AMERICA,                         Case No. CR 19-00367-CRB-1

                          Plaintiff,                    DEFENDANT ALAN EDUARDO ALFONSO
18
                                                        VIERA-CHIRINOS’ ADMINISTRATIVE
19              v.                                      MOTION TO FILE EXHIBITS 1 AND 3
                                                        UNDER SEAL
20    EDUARDO ALFONSO VIERA-
      CHIRINOS,
21
                          Defendant.
22

23

24         I, Hilary Blamey, declare as follows:

25         1.        I am an attorney admitted to practice in the State of California and before the federal
26 district court for the Northern District of California. I am attorney for defendant Eduardo Viera-
27
     Chirinos in United States v. Eduardo Viera-Chirinos, 19-CR-00367-CRB-01 (N.D. Cal). I respectfully
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                                                           3
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                   Case 3:19-cr-00367-CRB Document 359 Filed 03/16/21 Page 4 of 5




 1 submit this declaration in support of Defendant’s Administrative Motion to File Exhibits 1 and 3 under

 2 seal as related to Defendant’s Motion for Reconsideration of Pretrial Detention Order.

 3
              2.      Mr. Viera-Chirinos is filing an administrative motion seeking to file Exhibits 1 and 3
 4
     under seal. Placeholder documents for Exhibits 1 and 3 will be filed with Mr. Viera-Chirinos’ Motion
 5
     for Reconsideration of Pretrial Detention Order.
 6
              3.       Exhibit 1 contains Mr. Viera-Chirinos’ confidential health information and should
 7

 8   therefore be filed under seal in order to protect his privacy interest as recognized under HIPPAA and

 9   related regulations.
10            4.       Exhibit 3 consists of a wiretap transcript that contains personal identifying information
11
     (PII).
12
               I declare under penalty of perjury that the foregoing factual assertions are true and correct to the
13
     best of my knowledge and belief.
14

15             Executed on March 5, 2021, in San Francisco, California.

16

17                                                           /s/ Hilary Blamey
                                                             HILARY BLAMEY
18                                                           Declarant
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             Case 3:19-cr-00367-CRB Document 359 Filed 03/16/21 Page 5 of 5




 1                                           [PROPOSED] ORDER

 2          For the reasons stated above, the Court orders that Exhibits1 and 3, to the Defendant Eduardo
 3 Viera-Chirinos’ Motion for Reconsideration of Pretrial Detention Order, as lodged with this

 4 Administrative Motion to Seal, shall be filed under seal until further order of the court.

 5
     IT IS SO ORDERED.
 6

 7
             March ________________
     Dated: ______ 16, 2021                       ___________________________________
 8                                                 HON. THOMAS S. HIXSON
                                                   United States Magistrate Judge
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